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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                                WESTERN DIVISION

UNITED STATES OF AMERICA,
                                                    Case No. 1:16-cr-052
                Plaintiff,
                                                 INFORMATION TO ESTABLISH
                v.                               PRIOR CONVICTION PURSUANT TO
                                                 21 U.S.C. § 851(a)(1)
JACK ALBERT CHAPPELL,

                Defendant.

        The United States of America, through its attorney, Christopher C. Meyers, United

States Attorney for the District of North Dakota, and Dawn M. Deitz, Special Assistant

United States Attorney, hereby gives notice to defendant JACK ALBERT CHAPPELL, that

the United States seeks, pursuant to 21 U.S.C. § 851(a)(1), an enhanced sentence in the

above-entitled case under 21 U.S.C. § 841(b)(1)(A), based on Defendant’s prior convictions

for a felony drug offense which had become final.

       In pertinent part, Defendant is charged in this case with:

       COUNT ONE: Conspiracy to Distribute and Possess with Intent to Distribute a
       Controlled Substance (500 grams or more of a mixture and substance containing a
       detectable amount of methamphetamine, a Schedule II controlled substance) in
       violation of 21 U.S.C. § 846.

       For a person without a prior felony drug offense, the statutory penalties for this

offense under 21 U.S.C. § 841(b)(1)(A) are: (i) a term of imprisonment from 10 years to life,

(ii) a fine of up to $10,000,000.00, and (iii) a minimum term of supervised release of 5 years.

       If a defendant has one conviction for a prior felony drug offense, the statutory

penalties under Section 841(b)(1)(A) are: (i) a term of imprisonment of 20 years to life, (ii) a

fine of up to $20,000,000.00, and (iii) a minimum term of supervised release of 10 years. If
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a defendant has two convictions for a prior felony drug offense, the statutory penalty is life in

prison.

          The defendant, JACK ALBERT CHAPPELL, has previously been charged with and

convicted of the following prior felony drug offense:

          1) Possession of a Controlled Substance for Sale, in Superior Court of California,
             County of San Diego, State of California, on or about October 29, 1985, in Case
             No. CR-76430.
          2) Possession of a Controlled Substance for Sale (Methamphetamine), in North
             Judicial District, County of Orange, State of California, on or about June 6, 1996,
             in Case No. 96NF0953.

These are prior convictions for felony drug offenses that are punishable by a term of

imprisonment of more than one year and were final prior to the commission of the offenses

charged in this case.

          The United States, through this information, gives notice to JACK ALBERT

CHAPPELL that if convicted of the pending charges in the instant case, he is subject to the

increased penalties set forth above.

          Dated this 13th day of May, 2016.

                                               CHRISTOPHER C. MEYERS
                                               United States Attorney


                                       By:    /s/ Dawn M. Deitz
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